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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DANIEL GREENWALD                              )
individually and on behalf of a class,        )
                                              )
               Plaintiff,                     )
       v.                                     )
                                              )
NORTHWESTERN UNIVERSITY,                      )
                                              )
               Defendant.                     )

                              COMPLAINT -- CLASS ACTION

       1.      Plaintiff Daniel Greenwald brings this class action against Northwestern

University. Plaintiff seeks redress for individuals who paid tuition and fees for on-campus

courses at the Northwestern University and who have not been refunded a prorated portion of

those tuition and fees after the Northwestern University abruptly closed its doors to students and

hastily shifted from the in-person, on-campus classwork for which Plaintiff and others paid, to

online courses due to the Coronavirus Disease 2019 (“COVID-19”).

       2.      Plaintiff and the members of the proposed class are students who paid

millions of dollars in tuition and fees to Northwestern University and who, as a result of

Defendant’s wrongful acts, (i) have not received refunds or reimbursements for the unused

services for which they paid; and/or (ii) have not received any refund or reimbursement for the

decreased value of the education that Defendant provided when classes transitioned from in-

person instruction to an entirely online, and far less valuable, format.

                                         JURISDICTION

       3.      This Court has jurisdiction under 28 U.S.C. 1332(d). Plaintiff is a citizen of

Maryland. Defendant is a citizen of Illinois. The amount in controversy, exclusive of interest

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and costs, exceeds $5 million on a classwide basis. There are more than 100 class members.

                                             PARTIES

         4.    Plaintiff, a resident and citizen of Maryland, attended the Evanston campus of

Northwestern University during 2019-2020.

         5.    Northwestern University is a non-profit educational institution organized under

the laws of the state of Illinois with its principal place of business at 633 Clark St., Evanston, IL

60208.

                                              FACTS

         6.    Plaintiff enrolled in an MA program in Sound Arts and Industries during 2019-

2020 and agreed to pay tuition in the amount of $65,536.

         7.    A material part of the program involves use of a studio with sophisticated

equipment maintained by Northwestern University as well as other physical equipment.

         8.    Plaintiff would not have enrolled but for the studio and equipment.

         9.    Northwestern University emphasized the benefit of attending in person. A

Northwestern publication, “Director’s Welcome – Sound Arts and Industries,” emphasized that:

               a.      Persons enrolling in this program “have hands-on experience with the

                       latest audio production technologies . . . .”

               b.      “Students take advantage of Northwestern’s state-of-the-art sound

                       facilities, which include a newly renovated sound production lab, multiple

                       sound editing stations, cutting-edge audiology facilities, and one of the

                       best student radio stations in the country. Our students take advantage of a

                       vibrant artistic and academic culture that is sustained through yearly

                       conferences on emerging topics related to sound, as well as regular visits

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                      from world-famous professionals in sound science, sound studies, sound

                      art, aural health and a range of sound industries.”

               c.     “The creative environment at Northwestern gives our sound professionals

                      the opportunity to develop as innovators and collaborators. The MA in

                      Sound Arts and Industries is part of a suite of professional programs at

                      Northwestern, and our students interact and collaborate with writers,

                      filmmakers, artists, and performers in the MFA in Documentary Media,

                      the MFA in Writing for Screen and Stage and the MS in Creative

                      Enterprises.”

               d.     “Our students take their unique set of knowledge and skills out into the

                      world through the program’s robust internship program. Our staff work

                      closely with students throughout the year and draw upon a cohort of

                      alumni and industry advisors that include executives at major Hollywood

                      film studios and Academy Award-winning sound designers, as well as

                      academics, researchers and entrepreneurs.”

       10.     Another document, “Facilities – Sound Arts and Industries,” stated that “Adjacent

to WNUR-FM, this newly renovated 1,700 square foot sound studio and performance space can

accommodate anything from a radio monologue to an 18-piece orchestra. SAI students use this

space for classes and recording projects.”

       11.     On March 11, 2020, Northwestern University announced that all classes would be

held on-line and that in-person instruction would not be had:

       Dear members of the Northwestern community,

       As the coronavirus (COVID-19) continues to spread across the country and in Illinois, we

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 are taking significant steps, in consultation with Governor J.B. Pritzker’s office, to
 prevent its spread on our campuses and protect the health and well-being of our students,
 faculty and staff.

 First, for Northwestern schools that operate on the quarter system, we are extending
 Spring Break by one week. When classes resume, beginning April 4, they will be
 conducted remotely for at least three weeks. Classes that do not lend themselves to
 remote instruction will be addressed separately. University leaders will reassess the
 situation by April 17 and decide then whether to continue remote teaching or to return to
 in-person instruction by April 27. We will provide additional guidance on the transition
 to remote classes in the days to come. A website outlining essential resources for
 teaching has been established and will continue to be updated.

 For NU-Q and Chicago-campus programs, which are in the middle of their terms, classes
 will be taught remotely beginning March 31, if not sooner. We will provide further
 details as quickly as we can.

 We want to be clear — Northwestern University will remain in operation. Research will
 continue. The business of the University will continue. But we believe it is important to
 limit our community’s potential exposure to COVID-19, and to limit the spread of the
 virus in our area, by conducting classes remotely, thus reducing the number of gatherings
 that can result in close contact.

 Please keep in mind that the situation is fluid and as COVID-19 spreads, if something
 significantly impacts the safety of our community in the coming days, our plans could
 evolve.

 For Students

 Students who live on campus should plan to depart following their final exams and, if
 possible, should not return until further notice. We understand that some students
 consider Evanston or Chicago their home, and some, including international students,
 cannot leave the University at this time. The University understands that this is a difficult
 moment, and we will support you in the time ahead. Student Affairs will provide further
 details on resources tomorrow.

 For students who remain on campus, residence halls will remain open, along with dining
 services. Northwestern Libraries and other resources will be available. Although most
 functions of the University will continue, some services could be limited or operate under
 limited schedules and staffing. Additional guidance for those who remain on campus will
 be provided shortly. All students — whether leaving campus or staying — should update
 their permanent address in CAESAR.

 Given graduate clinical education includes in-person interactions to meet graduation
 requirements, we will proceed with clinical activities so long as they are consistent with

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 other University policies and educational sites remain open. We will operate under
 vigilant protocols to safeguard the health of students, patients, staff and faculty. Graduate
 research activities also will continue under similar circumstances.

 Faculty and Staff

 We know that some parents and caregivers in our Northwestern community have been or
 may be impacted by closings at daycare providers or schools or the loss of other
 caregiver support. Northwestern’s schools, departments and other units should err on the
 side of flexibility when deciding whether to let their employees work from home in order
 to care for their children or attend to other family responsibilities.

 We ask that instructors be flexible in how they approach the remaining two weeks of
 Winter Quarter. While many final assignments will be able to move forward as planned,
 we strongly encourage you to consider alternative arrangements to a traditional final
 exam. Additional guidance for faculty will be coming shortly from the Office of the
 Provost.

 We realize the changes outlined above are disruptive and present challenges. These
 decisions were made in consultation with health officials and with our community’s
 protection in mind. A number of details must still be addressed, but we wanted to inform
 you of these changes immediately, so you can begin planning for the Spring Quarter.
 Your dean or vice president will write directly with additional guidance.

 Looking Ahead

 We are constantly evaluating the situation. Our goal is to communicate with you quickly
 and openly so that you can plan accordingly. Residential students who leave campus for
 Spring Break should take everything needed for your coursework, including textbooks,
 paperwork and other materials. We want to ensure you are able to do your work
 remotely.

 For students who are set to graduate this spring, the University is evaluating the
 coursework required for you to complete your degrees and graduate on time. We
 anticipate Commencement activities will be held as scheduled.

 Northwestern’s COVID-19 website is the best source of information about the impact of
 the virus and provides answers to Frequently Asked Questions (FAQs). In addition, we
 have assembled a University team to field questions that are not addressed by the
 above-mentioned FAQs. Please email nu-covid@northwestern.edu or call 847-467-4111.

 Although our team might not have immediate answers, they will work to find them for
 you. Nothing is more important than the health and well-being of our community. We
 truly appreciate your patience, your understanding and your partnership in this
 challenging time.

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       12.     On March 19, 2020, Northwestern University sent the following communication

to, among others, all students:


       Dear Colleagues,

       As the COVID-19 situation continues to unfold hour-by-hour, we wish to provide further
       guidance about who should be physically on campus during this unprecedented time. As
       of 5 p.m. Friday, March 20, and for the two-week period through Friday, April 3, 2020,
       only individuals who are essential to Northwestern's ongoing operations can remain
       physically on site. *Even for individuals who are considered essential, do not come to
       campus if you are experiencing symptoms.*

       As you know from previous communications
       https://bulkmail.northwestern.edu/trk/click?ref=zstwe3vud_2-7cc8x3a171x06575&>, we
       have been continuously monitoring the COVID-19 situation and working with medical
       experts to assess the risk to our community. With the recent developments in the spread
       of COVID-19, we now believe that it is prudent for us to implement even stricter
       measures as we continue to follow CDC guidance
       <https://bulkmail.northwestern.edu/trk/click?ref=zstwe3vud_2-7cc8x3a1e2x06575&>.
       The University remains open and its core operations will continue, albeit in a new, more
       virtual environment.

       *Academics*

       The shift from one academic quarter to the next necessitates planning and certain on-site
       activity. However, we now face the additional challenge of transitioning from
       on-campus to remote courses for the beginning of the Spring Quarter.

       Given the substantial effort needed to ensure that we are well prepared to deliver remote
       coursework that is in line with our exceptional academic curricula, the next two weeks
       may require certain faculty and staff to be regularly or sporadically onsite. Such key
       work processes, for example, might include ensuring IT infrastructure is ready to support
       remote course delivery, preparing faculty to teach and engage with students in a virtual
       environment, or converting course materials. Each school, department and faculty
       member could have different needs to ready for this change.

       It is imperative that we prepare to resume classes in two weeks, and our faculty and staff
       will be instrumental in making this happen. . . .

       13.     As a result, since mid-March, Northwestern University students have been denied

the bargained-for in-person instruction and access to facilities, technology, services, resources,


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and other benefits for which Plaintiff and class members contracted for when they paid

Defendant tuition and fees.

       14.     Almost all the course work in a Sound Arts masters degree involves listening to

various recording, audio edits, etc. through state-of-the-art speaker systems. Because a

significant amount of fidelity is lost over video conference calls the student’s educational

experience is severely diminished.

       15.     On April 30, 2020, Northwestern informed students that tuition would not be

adjusted.

       16.     Subsequent requests by Plaintiff pointing out the nature of his program were also

rejected.

       17.     On August 13, 2020, Plaintiff and other students in his program were informed

that they could withdraw for a quarter, but that their transcripts would show that. This is a

significant detriment.

       18.     Despite failing to hold in-person classes, forcing students into online classes that

are a shadow of the in-person instruction students expected to receive and for which they paid,

and denying students access to a wide range of on-campus services and benefits, Defendant has

not otherwise adjusted the amounts paid by Plaintiff and class members.

       19.     Plaintiff and other class members have lost the benefits of the education,

services, extra-curricular opportunities, and other experiences that Defendant promised them.

Although it has failed to fulfill its obligations to students and their families, Defendant is

currently unlawfully retaining and refusing to fully or partially refund Plaintiff’s tuition and,

except as noted above, fees, despite the dramatically lower quality and less valuable education

and services Defendant provided.

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        20.     Plaintiff and class members paid Defendant for access to buildings and

facilities that students were not permitted to enter, equipment and technology that they could not

use, internships in which they could not participate, and much more. Additionally, Plaintiff and

class members paid Defendant for a quality of instruction, which, due to the abrupt shift to

online learning, Defendant did not deliver. Defendant is thus profiting from COVID-19, asking

students and their families—many of whom have been laid off, become ill, lost loved ones, or

are otherwise suffering significantly—to bear the financial brunt of the pandemic. The result is

an enormous windfall to Defendant. Both contract and equity demand that Defendant disgorge

its ill-gotten funds.

        21.     Plaintiff brings this class action for relief from Defendant’s illegal, inequitable,

and unfair retention of the funds paid by Plaintiff and the other individuals in the proposed class.

        22.     This lawsuit seeks disgorgement and monetary damages in the amount of

prorated, unused amounts of tuition and fees that Plaintiff and the other class members paid, the

benefits of which were not provided by Defendant, including the difference in value between the

live in-person classes for which students enrolled compared to the lesser online versions of

classes that Defendant has provided to them for the duration of the campus closure.

        23.     By abruptly closing Northwestern University in March 2020, transitioning all in-

person classes to online teaching, sending students home, and significantly reducing resources

and opportunities available to students, Northwestern University failed to deliver the educational

services, facilities, technology, activities, and other resources for which Plaintiff and class

members contracted and expected to receive. Plaintiff and the proposed class are therefore

entitled to a prorated refund of tuition and fees for the duration of Northwestern University’s

COVID-19-related closure for the education and services that Defendant did not provide, or

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which Defendant provided in a severely diminished manner.

                                     CLASS ALLEGATIONS

       24.     Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), Plaintiff brings this action on behalf

of a class and subclass.

       25.     The class includes all persons who (i) paid tuition to Northwestern University of

Illinois for a class or classes (ii) which class was an in-person class, and (iii) did not receive the

in-person education for which they paid.

       26.     The subclass includes persons enrolled in one or more classes (a) that

Northwestern determined are “Classes that do not lend themselves to remote instruction” or (b)

provided for work in a laboratory, sound stage, theatre, or similar physical facility.

       27.     The members of the proposed class are so numerous that joinder of all class

members is impracticable. There are more than 5,000 members of the class. The class can be

readily identified from enrollment and financial records maintained by Defendant.

       28.     There are questions of law and fact common to the class that predominate over

any individual questions. These include:

               a.      Whether Defendant retained money from the class members for services it

                       did not render, or only partially rendered;

               b.      Whether Defendant entered into a contract with the class members;

               c.      Whether Defendant breached its contract with the class members;

               d.      Whether Defendant benefitted from the money it accepted from the class

                       members;

               e.      Whether the educational and other services Defendant provided to the

                       class members were commensurate with their value;

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                   f.     The formula for appropriate relief.

        29.        Plaintiff will fairly and adequately represent the class members. Plaintiff

has retained counsel experienced in class actions and consumer litigation.

        30.        Plaintiff’s claim is typical of the claims of the class members. All are based on

the same factual and legal theories.

        31.        A class action is superior for the fair and efficient adjudication of this

matter, in that:

                   a.     Individual actions are not economically feasible. The damages suffered

                          by individual class members are relatively small compared to the burden

                          and expense of individual litigation of the claims described herein against

                          Defendant.

                   b.     Individual actions would run the risk of creating inconsistent or

                          contradictory judgments arising from the same set of facts and would

                          increase the likely delay and expense to all parties involved and the Court

                          itself.

                               COUNT I – BREACH OF CONTRACT

        32.        Plaintiff incorporates paragraphs 1-31.

        33.        Plaintiff and the other members of the class entered into binding contracts with

Northwestern University when they enrolled in exchange for payment or promises to pay

specified tuition and fees.

        34.        These contracts are not based on an integrated document. They were formed

by multiple documents when Defendant authorized students to attend, offered courses, quoted

tuition and fees for the courses, and invited students such as Plaintiff to register for the courses.

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       35.     As part of the contract, Northwestern University promised to provide on-campus

educational services to Plaintiff and the class members.

       36.     By closing its campuses in mid-March 2020, Defendant has failed to provide the

services that it was obligated to perform under its contracts with Plaintiff and the proposed class.

       37.     Defendant has retained tuition and part of the fees paid by Plaintiff and the

other members of the class without providing them the promised benefits.

       38.     Plaintiff and the members of the class performed their obligations under the

contracts by paying for tuition and fees.

       39.     Plaintiff and the members of the class were damaged as a direct and proximate

result of Defendant’s breach, including being deprived of the education, experience, and services

that they were promised and expected to obtain, and for which they have paid.

       40.     Plaintiff and the members of the class are entitled to damages including but not

limited to prorated reimbursement of the tuition, fees, and other expenses that were collected by

Defendant for services that Defendant failed to deliver fully.

       41.     Defendant’s performance under the contracts is not excused because of COVID-

19. Even if performance was excused or impossible, Defendant would nevertheless be required

to return the funds received for services and/or goods that it did not provide.

       WHEREFORE, the Court should enter judgment in favor of Plaintiff and the class and

against Defendant for:

               a.        Appropriate damages;

               b.        Costs of suit;

               c.        Such other and further relief as the Court deems proper.



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              COUNT II – RESTITUTION BASED ON QUASI-CONTRACT

       42.     Plaintiff incorporates paragraphs 1-31.

       43.     Plaintiff asserts this claim in the alternative to the breach of contract claim

brought in Count I.

       44.     Plaintiff and the other members of the proposed Class conferred a benefit or

enrichment on Defendant by paying tuition and fees to Defendant, which was beneficial to

Defendant, at the expense of Plaintiff and the other members of the class.

       45.     Plaintiff and the other members of the class did not receive the goods and

services Defendant was to provide.

       46.     Defendant has retained the benefit paid by Plaintiff and the class members

despite its failure to provide the services for which the benefit was paid.

       47.     There is no justification for Defendant’s failure to return the portion of the

tuition and fees that Defendant has unjustifiably kept for itself even though it failed to complete

the services for which Plaintiff and the class members provided the funds to Defendant.

       48.     Defendant has been unjustly enriched and should pay as restitution a prorated

portion of the funds that Plaintiff and the proposed class paid for tuition and fees for the duration

of the campus closure.

       WHEREFORE, the Court should enter judgment in favor of Plaintiff and the class and

against Defendant for:

               a.        Appropriate damages;

               b.        Costs of suit;

               c.        Such other and further relief as the Court deems proper.



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                                     /s/ Daniel A. Edelman
                                     Daniel A. Edelman

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